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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


ANNIE HABERLEIN, individually
and on behalf of all other similarly               Case No.
situated individuals,                              Hon.
      Plaintiffs,
v.
UNITED WHOLESALE
MORTGAGE, LLC,

      Defendant.
__________________________________________________________________
Noah S. Hurwitz (P74063)            Andrea Bernard (P49209)
NACHTLAW, P.C.                      Warner, Norcross & Judd, LLP
Attorneys for Plaintiff             Attorneys for Defendant
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Ann Arbor, MI 48104                 1500 Warner Building
(734) 663-7550                      Grand Rapids, MI 49503
nhurwitz@nachtlaw.com               (616) 752-2199
                                    abernard@wnj.com
__________________________________________________________________
           There is no other pending or resolved civil action arising out
            of this transaction or occurrence alleged in the complaint.

                     COMPLAINT AND JURY DEMAND

      Plaintiff Annie Haberlein, by and through her attorneys, NACHTLAW, P.C.,

hereby allege as follows:

                               INTRODUCTION

      1.     This is an action for money damages, liquidated damages, costs,
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attorneys’ fees and other relief as a result of a requirement by Defendant United

Wholesale Mortgage, LLC (hereinafter referred to as “Defendant”) that employees

who are not eligible for overtime pay work over 40 hours per week without receiving

overtime pay compensation, which violates the Fair Labor Standards Act (“FLSA”),

29 U.S.C. §§ 201, et seq. This action is brought pursuant to the opt-in collective

action provisions of the FLSA, 29 U.S.C. § 216(b).

                          PARTIES AND JURISDICTION

      2.     Plaintiff Annie Haberlein is an individual residing in Grosse Pointe

Park, Michigan, which is located in Wayne County.

      3.     Defendant United Mortgage is a company with its registered business

address in Plymouth, Michigan, which is located in Wayne County.

      4.     This Court has general federal question jurisdiction pursuant to 28

U.S.C. § 1331, because Plaintiff brings his claim pursuant to the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

      5.     Venue is proper in this Court because Defendant’s registered business

address is located within the Eastern District of Michigan.

                            GENERAL ALLEGATIONS

      6.     Defendant is a publicly held for-profit company in Michigan operating

as a wholesale lender that works exclusively with independent mortgage brokers

across the country to provide home mortgages to consumers.

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      7.     At all times relevant to this Complaint, Defendant was Plaintiff’s

employer.

      8.     At all times relevant to this Complaint, Defendant has been, and

continues to be, an employer engaged in interstate commerce within the meaning of

the FLSA, 29 U.S.C. § 203.

      9.     Plaintiff brings this action on her own behalf and on behalf of all other

similarly situated employees of Defendant, present and former, who were and/or are

affected by the actions, pay schemes, policies and procedures of Defendant.

      10.    In addition, Plaintiff brings this action in her individual capacity,

separate and apart from the class and/or collective action claims set forth herein.

      11.    At all times relevant to this Complaint, Plaintiff and other similarly

situated individuals were employed as non-exempt “Account Executives” that are

eligible for overtime pay.

      12.    Defendant told Plaintiff and other similarly situated employees that

they would only work a “Firm 40.”

      13.    Defendant told Plaintiff and other similarly situated employees that

they should be able to perform their jobs effectively without working outside of

normal business hours.

      14.    In fact, however, Defendant instituted policies and practices to prevent

Plaintiff and other similarly situated employees from being compensated for


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working over 40 hours per week.

      15.    For example, Plaintiff and other similarly situated employees were

asked to attend pre-work early morning meetings called “Dominate at Eight,” but

not allowed to clock in for work until their official start time, thereby depriving them

of compensable work time.

      16.    “Dominate at Eight” typically accounted for 15-20 minutes of unpaid

compensable work time even though it is time that is directly related to the job

performed by Plaintiff and other similarly situated employees.

      17.    When Plaintiff and other similarly situated employees clocked in earlier

than their official start time, they would be reprimanded and Defendant’s leaders

(i.e., managers) would alter time records to make it look like Plaintiff and other

similarly situated employees were only working 40 hours or less.

      18.    Plaintiff and other similarly situated employees were told to arrive to

work at least 30 minutes early to catch up on emails and prepare for the day, even

though they could not clock in until their official start time.

      19.    When Plaintiff and other similarly situated employees were not

working at least 15 minutes prior to their actual start time, they were often

reprimanded by Defendant’s leaders (i.e., managers).

      20.    Plaintiff and other similarly situated employees would clock out for one

hour to take a “lunch” but in fact would continue to perform compensable work


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during the unpaid lunch time due, in part, to Defendant requiring Plaintiff and other

similarly situated employees to either (a) answer all work calls if they were eating

lunch at their desk; or (b) forward their work phones to their personal cell phones so

that they could answer work calls during their personal time.

      21.    Plaintiff and other similarly situated employees worked outside of

normal business hours, but their leaders (i.e., managers) would manually adjust the

time records of Plaintiff and other similarly situated employees to make it appear

that only eight hours were worked and therefore no overtime pay was owed.

      22.    Plaintiff and other similarly situated employees were required to

conduct “weekend plays.”

      23.    “Weekend plays” required Plaintiff and other similarly situated

employees to send at least a dozen text messages from their personal cell phones to

potential clients with whom they had not worked with before, for the purpose of

marketing Defendant’s products and competitive prices.

      24.    Plaintiff and other similarly situated employees had to verify with their

leaders (i.e., managers) that they had conducted “weekend plays” by sending

screenshots of the text messages to leaders before the end of the weekend.

      25.    Plaintiff and other similarly situated employees were required to

forward their office work phones to their personal cell phones so that they could

always be available to customers, even though they were not clocked in or paid for


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the compensable time spent on such calls occurring outside of normal business

hours.

         26.   Plaintiff and other similarly situated employees were required to

respond to clients on weekends, but Defendant did not allow Plaintiff and other

similarly situated employees to clock in and be paid for work performed on the

weekends.

         27.   Defendant championed phrases like “want more, do more” to

encourage Plaintiff and other similarly situated employees to work harder and devote

more unpaid hours to the company.




         28.   Plaintiff and other similarly situated employees consistently and

regularly worked more than forty (40) hours per week.

         29.   Defendant applied its policy and practice of not paying overtime

compensation in the same manner to all affected employees.



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      30.    As a result of these actions, Account Executives employed by

Defendant were and/or are unlawfully deprived of overtime compensation for all

hours worked in excess of forty (40) per week.

      31.    On www.glassdoor.com, current and former employees of Defendant

anonymously left several remarks regarding unpaid overtime, including the

following:

             a.   “The culture is absolutely toxic, pay is low, you’re expected to

                  put in hours on weekends with no bonuses or overtime.” Posted

                  by anonymous on November 13, 2019.

             b.   “If we do work a firm 40, our leaders make us feel like we are

                  letting our entire team down because we don’t want to stay and

                  work extra files and not receive any overtime for it.” Posted by

                  anonymous on June 4, 2020.

             c.   “The hours can be very long and Seniors aren’t paid for working

                  overtime.” Posted by anonymous on October 20, 2020.

             d.   “Was a senior underwriter for couple years, no overtime and

                  bonuses and be lost if you make an error, they brag about firm

                  40 BUT this job requires more than 40 hours a week and that

                  extra time is not paid.” Posted by anonymous on October 28,

                  2020.


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           e.    Firm 40 doesn't apply to IT, people are forced to work nights and

                 weekends to make unreasonable deadlines.”              Posted by

                 anonymous on November 12, 2020.

           f.    “I took the job because I was told it's easy to hit bonus, but upon

                 hitting the floor they got rid of bonus for months, and then when

                 it was implemented again the threshold was so high that almost

                 no one could hit it without doing overtime (which is also

                 forbidden).” Posted by anonymous on December 5, 2020.

           g.    “Need to quit lying about firm 40 Underwriting literally has built

                 in forced overtime called ‘Rise and Grind.’”           Posted by

                 anonymous on April 27, 2021.

           h.    “The firm 40 preached is non-existent more often than not if you

                 want to reach your daily commitment goals.”            Posted by

                 anonymous on June 4, 2021.

           i.    “No overtime for the positions that work the most over 40 hours

                 a week, no true firm 40, no work from home, and harder loans

                 are not looked at any differently than very easy loans.” Posted

                 by anonymous on June 22, 2021.

     32.   The collective action class pursuant to the FLSA is defined as all

current and former employees of Defendant who worked as Account Executives at


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any time from three (3) years preceding the filing of this lawsuit through the

culmination of this litigation. Plaintiff reserves the right to amend said class

definition consistent with information obtained through discovery.

                         COUNT I
VIOLATION OF THE FAIR LABOR STANDARDS ACT ON BEHALF OF
  PLAINTIFFS, INDIVIDUALLY, AND ON BEHALF OF ALL OTHER
  SIMILARLY SITUATED EMPLOYEES, CURRENT AND FORMER

      33.    Plaintiff incorporates all proceeding paragraphs above as though fully

stated herein.

      34.    At all times relevant to this action, Plaintiff and other similarly situated

employees were Defendant’s employees within the meaning of the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

      35.    At all times relevant to this action, Defendant was the employer of

Plaintiff and other similarly situated employees within the meaning of the FLSA.

      36.    In violation of the FLSA, Defendant failed to pay Plaintiff and other

similarly situated employees proper overtime compensation for hours worked in

excess of forty (40) per week.

      37.    Defendant has a policy and practice of failing and refusing to pay

Plaintiff and other similarly situated employees for all hours worked in violation of

the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      38.    Defendant’s conduct in this regard was a willful violation of the FLSA.



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      39.    As a result of Defendant’s unlawful acts, Plaintiff and all other similarly

situated current and former employees were/are being deprived of earned wages in

amounts to be determined at trial. They are entitled to compensation for unpaid

overtime wages, interest, liquidated damages, attorneys’ fees and costs, and any

other remedies available at law or in equity.

                             DEMAND FOR RELIEF

      WHEREFORE, Plaintiff claims, individually and on behalf of all other

similarly situated employees, the following:

      a.     Designation of this action as a collective action pursuant to the FLSA

and prompt issuance of notice pursuant to 29 U.S.C. § 216(b);

      b.     An award of unpaid overtime wages under the FLSA;

      c.     An award of liquidated damages under the FLSA;

      d.     Interest;

      e.     Attorneys’ fees and costs under the FLSA; and

      f.     Such other relief as in law or equity may pertain.

                                                Respectfully Submitted,
                                                NACHTLAW, P.C.
                                                /s/ Noah S. Hurwitz
                                                Noah S. Hurwitz (P74063)
                                                Attorneys for Plaintiff
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   Dated: July 27, 2021
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


ANNIE HABERLEIN, individually
and on behalf of all other similarly                 Case No.
situated individuals,                                Hon.
      Plaintiffs,
v.
UNITED WHOLESALE
MORTGAGE, LLC,

      Defendant.
__________________________________________________________________
Noah S. Hurwitz (P74063)            Andrea Bernard (P49209)
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                                    abernard@wnj.com
__________________________________________________________________
                       DEMAND FOR TRIAL BY JURY

      Plaintiff Annie Haberlein, by and through her attorneys, NachtLaw, P.C., and

hereby demands a jury trial in the above-captioned matter for all issues so triable.




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                                   Respectfully Submitted,
                                   NACHTLAW, P.C.
                                   /s/ Noah S. Hurwitz
                                   Noah S. Hurwitz (P74063)
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  Dated: July 27, 2021




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